Case 2:20-cv-08062-BRM-JSA Document 41 Filed 12/29/21 Page 1 of 1 PageID: 697




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

   Tobii Technology, Inc.,
                                                      Case No.: 2:20-cv-08062-BRM-JSA
                             Plaintiff,
                                                      STIPULATION OF DISMISSAL
   v.
                                                      WITH PREJUDICE
   Lee S. Weinblatt,                                  PURSUANT TO F.R.C.P. 41

                             Defendant.



           Pursuant to F.R.C.P. 41, it is hereby stipulated and agreed, by and between Plaintiff,

   Tobii Technology, Inc., and Defendant, Lee S. Weinblatt, through their undersigned

   counsel, that all claims, counterclaims and crossclaims in the above matter are dismissed

   with prejudice, with each party to bear its own costs, expenses and attorneys’ fees.

    TOBII TECHNOLOGY, INC.                                 LEE S. WEINBLATT


    By: s/Gregory D. Miller/                               By: s/Steven M. Richman/
         GREGORY D. MILLER                                       STEVEN M. RICHMAN

    RIVKIN RADLER LLP                                      CLARK HILL
    25 Main Street                                         210 Carnegie Center
    Court Plaza North, Suite 501                           Suite 201
    Hackensack, New Jersey 07601                           Princeton, NJ 08540


    Dated: December 29, 2021                               Dated: December 29, 2021


                           29TH             DEC.
   It is SO ORDERED this ___________ day of ________ 2021.




                                                  ____________________________________
                                                  HONORABLE BRIAN R. MARTINOTTI
                                                  United States District Judge



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